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                                      OFFICE OF THE CLERK
                             UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE

          John A. Cerino                                                        Unit 18
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                                                                         Wilmington, De 19801
                                                                            (302) 573-6170



March 24, 2023

VIA U.S. POSTAL SERVICE

Prothonotary
Superior Court – Sussex County
Sussex County Courthouse
1 The Circle, Suite 2
Georgetown, DE 19947

       RE:     Isaac v. Cable News Network, Inc. et al 1:23-cv-00247-MN

Dear Clerk,

        On March 24, 2023, the Honorable Maryellen Noreika remanded the above-captioned
case to the Superior Court of the State of Delaware in and for New Castle County. Enclosed,
please find the following:
           1) Certified copy of the USDC docket sheet as of March 24, 2023; and
           2) Certified copy of the Memorandum Opinion and Order dated March 24, 2023.
      Please note that the electronic case filings can be accessed through PACER by selecting
the CM/ECF link on our website at www.ded.uscourts.gov.

       Please acknowledge receipt of the above items on the attached copy of this letter via mail
or email at mn_civil@ded.uscourts.gov.

                                                            Sincerely,
                                                            John A. Cerino, Clerk

                                                            /s/ Mark D. Buckson, Jr.
                                                                Deputy Clerk
enc.
cc:    Counsel of record (via CM/ECF)


I, __________________________, hereby acknowledge that I received the items listed above

on _____________________.

__________________________
Signature
